   Case 1:24-cv-03077-NCM-VMS                     Document 35           Filed 10/14/24          Page 1 of 47 PageID #:
RECEIVED IN THE PRO SE OFFICE
                                                         391
     OCT 14, 2024, 1:22 PM
        VIA BOX.COM




      Hon. Natasha C. Merle, USDJ                                                            Steven B. Jacobs
      Theodore Roosevelt United States Courthouse                                            2840 Jackson Ave.
                                                                                             Apt. 26E
      225 Cadman Plaza East
                                                                                             Long Island City, NY 11101
      Brooklyn, NY 11201                                                                     T +1 610 608 3304
                                                                                             E stevenbjacobs@gmail.com

      LETTER MOTION FOR PRE-MOTION CONFERENCE

      By NYED Website, Pro Se Portal
                                                                                             October 14, 2024
      Re: Jacobs v. Draftkings, Inc. No. 1:24-cv-03077-NCM-VMS

      Dear Judge Merle:

      I am the Plaintiff in this action and write (effectively) pro se 1 pursuant to Local Rule 37.2 to request an
      informal conference with the Court to (i) compel defendant DraftKings, Inc. (“DraftKings”) to comply
      with this Court’s order dated August 12, 2024 (the “Order”) requiring DraftKings to produce documents
      responsive to Plaintiff’s requests for production regarding his own DraftKings account; and (ii) discuss
      the most efficient course for amending Plaintiff’s complaint in light of the significant revelations
      contained in DraftKings’ documents (including in the very small number that DraftKings has produced
      to date).

      DraftKings is severely delinquent in its discovery obligations and, since the commencement of this
      action, has fundamentally refused to follow applicable rules, laws, and even this Court’s Order. This
      action has been pending for over half a year, and the Court’s Order compelling DraftKings to produce
      documents was entered more than two months ago. Notwithstanding having many months to get its
      documents collected and reviewed (all of which are part of a limited set related to Plaintiff, and can be
      located with an extremely simple search), to date, DraftKings has only produced just over 100
      documents, more than half of which are Plaintiff’s own texts and emails which Plaintiff already had in
      his possession. The correspondence between the parties on this subject is attached hereto as
      Exhibits A, B, and C. 2 A brief chronology:

          •    DraftKings improperly refused to produce anything for months, purportedly due to the
               pendency of its motion to stay discovery.
          •    The Court’s Order was entered August 12, 2024. Given that this action had been pending for
               many months, Plaintiff made the reasonable request that DraftKings complete its production
               within approximately three weeks, by September 4, 2024.


      1       My counsel (in name only) Bhavleen Sabharwal has not done any substantive work on this matter because,
              according to her motion to withdraw, she is unequipped to handle the publicity it has generated. See ECF
              No. 32. I respectfully request that the Court grant her motion to withdraw as soon as possible so that I may
              proceed pro se, which is effectively how I have litigated the matter to date in any event.
      2       Exhibits A and B are a single email chain, but have been split into two exhibits due to length.
Case 1:24-cv-03077-NCM-VMS               Document 35          Filed 10/14/24             Page 2 of 47 PageID #:
                                                392

                                                                 October 14, 2024


                                                                 Letter to
                                                                 Hon. Natasha C. Merle




      •   DraftKings responded and requested that it be permitted to provide responses by September
          11, 2024. Plaintiff promptly agreed.
      •   Despite Plaintiff agreeing to DraftKings’ requested deadline, DraftKings quickly changed
          course and decided that it would refuse to complete production by that date, or any date
          certain. (See Ex. A, August 21 email of Rees Morgan; see also Ex. B, Plaintiff’s emails dated
          September 27; Ex. C, Plaintiff’s emails dated October 3, 7, 9, 10).
      •   Since the Court’s Order, DraftKings has made three nominal “productions,” which in total
          amount to just over 100 documents, most of which are Plaintiff’s own documents which he
          already had in his possession.
      •   Over the past 2+ months, DraftKings has provided nothing but empty and non-specific
          assurances that it will eventually comply with its obligations, while refusing to commit to any
          date whatsoever by which it will comply with the Court’s order. (See e.g. Exhibit B, Plaintiff’s
          email dated September 27.)
      •   DraftKings’ productions to date reveal glaring, massive gaps, which DraftKings knows it needs
          to fill through further production. DraftKings’ refusal to produce such documents is telling.
      •   Plaintiff has requested a date certain by which DraftKings will complete its production on
          September 27, October 3, 7, 9 and 10. (See Ex. B, Plaintiff’s emails dated September 27; Ex.
          C, Plaintiff’s emails dated October 3, 7, 9, 10.) DraftKings has not even provided the courtesy
          of a response.
      •   As the Court can see in Exhibits A-C, DraftKings has made no effort to make timely production,
          and instead has engaged in dilatory tactics (as it has since the commencement of this action
          seven months ago), in direct defiance of the Order.

  DraftKings’ complete production is not only required by the Court’s Order, it is necessary for the
  efficient resolution of this matter. DraftKings has no excuse or justification for its dilatory discovery
  tactics which include refusing to provide a date certain by which its production will be complete.
  Indeed, DraftKings initially stated that it would be able and willing to complete production by September
  11, over a month ago, before promptly changing course. In light of the foregoing, the Court should
  order DraftKings to complete its production forthwith, such as within fourteen days of any Court order
  related to this motion. In addition, DraftKings should be admonished for necessitating motion practice
  to compel its compliance with a Court Order that was issued months ago.

  Relatedly, DraftKings’ (meager) productions to date have revealed an astonishing lack of truthfulness
  on DraftKings’ part. For example, Plaintiff’s VIP hosts apparently lied to Plaintiff in essentially every
  conversation (about all subjects big and small) for a period of nearly a year. These hosts were
  Plaintiff’s sole points of contact with DraftKings, and their dishonesty was apparently at the explicit
  direction of their employer, DraftKings. The few documents DraftKings has produced to date, even
  without more, dictate amending Plaintiff’s complaint to, inter alia, add a claim for fraud.

  However, given that DraftKings is deficient in complying with its discovery obligations (and is likely
  concealing even more incriminating documents), it is extremely likely that the completion of DraftKings’
  document production will warrant significant further amendment. For that reason, Plaintiff respectfully




                                                                                                              2
Case 1:24-cv-03077-NCM-VMS                 Document 35            Filed 10/14/24             Page 3 of 47 PageID #:
                                                  393

                                                                     October 14, 2024


                                                                     Letter to
                                                                     Hon. Natasha C. Merle




  submits that the most efficient course would be to order DraftKings to complete production by a date
  certain, and then Plaintiff could submit one comprehensive amended complaint afterwards, taking into
  account the completed production. This would avoid piecemeal amendment and conserve the
  resources of all parties (as well as the Court) by requiring the parties to re-brief DraftKings’ motion to
  dismiss only once (to the extent it is not mooted entirely), rather than potentially multiple times.
  Although plaintiff has a proposed amended complaint drafted and ready to be filed, Plaintiff respectfully
  submits that a pre-motion conference would likely provide for the most efficient resolution of all open
  matters. 3

  DraftKings has declined to consent to any amendment, claiming, inter alia, that it believes the Court
  should rule on the motion to dismiss prior to any amendments (see Ex. C, email of October 3, 2024).
  But this position is meritless. In Pitman v. Immunovant, Inc., 2023 U.S. Dist. LEXIS 24909, at *21
  (E.D.N.Y. Feb. 14, 2023) (Scanlon, J.), this Court explained that when a motion to dismiss is pending,
  the best course is to permit amendment to address any issues “as Plaintiff sees fit.” Plaintiff
  respectfully submits that the parties and the Court could best address the necessity of any amendment
  and a briefing schedule related to any amendment at a conference in which DraftKings’ deficient
  discovery is also addressed and remedied.

  In light of the foregoing, Plaintiff respectfully requests a pre-motion conference, or, alternatively, for
  DraftKings to be ordered to complete its production by a date certain, such as no later than October 31,
  2024.

  Respectfully submitted,
  /s/ Steven B. Jacobs
  Steven B. Jacobs
  cc:     Counsel for all parties, via NYED Website




  3     To the extent the Court disagrees, Plaintiff is prepared to file a motion to amend immediately.




                                                                                                               3
Case 1:24-cv-03077-NCM-VMS   Document 35   Filed 10/14/24   Page 4 of 47 PageID #:
                                    394




                   EXHIBIT A
Case 1:24-cv-03077-NCM-VMS                     Document 35                Filed 10/14/24             Page 5 of 47 PageID #:
                                                      395

  From:              Morgan, Rees
  To:                Steven Jacobs
  Cc:                Bonnevie, Cristina; James Sandnes - Skarzynski Marick & Black LLP; EfilingRRP; EfilingRFM; EfilingERM;
                     EfilingFSK
  Subject:           Re: [EXTERNAL] Re: Doe v. DraftKings Inc. (Case No. 1:24-cv-03077-NCM-VMS)
  Date:              Thursday, August 29, 2024 11:05:13 AM


  I probably won’t be available today until after 3pm PT today, which I know is late your time.
   I could talk early tomorrow morning.

  Sent from my iPhone


          On Aug 28, 2024, at 6:42 PM, Steven Jacobs <stevenbjacobs@gmail.com> wrote:


          ﻿ Rees, following up on this, let me know when is good.

          Relatedly, I trust you are in reciept of my opposition papers to your MTD, but let
          me know if they got caught in a filter due to their size.

          Best,
          Steve



                  On Aug 27, 2024, at 6:40 PM, Steven Jacobs
                  <stevenbjacobs@gmail.com> wrote:


                  ﻿Tomorrow after 2p pacific would be good, or Thursday after noon
                   pacific.

                  Sent from my iPhone


                        On Aug 27, 2024, at 6:31 PM, Morgan, Rees
                        <rmorgan@coblentzlaw.com> wrote:


                        ﻿
                        Hi Steve:

                        Would you be available to meet and confer about these
                        issues in the next day or two? Please let us know when you
                        are available. Thanks,

                        Rees

                        Rees Morgan
                        Coblentz Patch Duffy & Bass LLP
Case 1:24-cv-03077-NCM-VMS               Document 35                 Filed 10/14/24                Page 6 of 47 PageID #:
                                                396

                415-772-5754 | Office 415-391-4800

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                confidential or legally privileged information. If you receive this transmittal in error,
                please email a reply to the sender and delete the transmittal and any attachments.



                From: Steven Jacobs <stevenbjacobs@gmail.com>
                Sent: Sunday, August 25, 2024 9:07 AM
                To: Morgan, Rees <rmorgan@coblentzlaw.com>
                Cc: Bonnevie, Cristina <cbonnevie@coblentzlaw.com>;
                James Sandnes - Skarzynski Marick & Black LLP
                <jsandnes@skarzynski.com>; EfilingRRP
                <EfilingRRP@coblentzlaw.com>; EfilingRFM
                <efilingrfm@cpdb.com>; EfilingERM <ef-erm@cpdb.com>;
                EfilingFSK <ef-FSK@coblentzlaw.com>
                Subject: Re: [EXTERNAL] Re: Doe v. DraftKings Inc. (Case No.
                1:24-cv-03077-NCM-VMS)

                Rees,

                Having not heard back regarding what supposedly improper
                "conditions" I am demanding with respect to your Court-
                ordered document production, I write to follow up regarding
                your email below.

                First, the Court order required you to produce documents
                related to my DraftKings account. the notion that you "can't
                agree, and are not required to agree" to any
                particular deadline is unreasonable. I offered to agree to
                September 11, which was (i) a date you requested; (ii) nearly
                a full month after the Court order, and (iii) most importantly,
                nearly eight months after the commencement of this action.
                The notion that DraftKings cannot provide me with all
                documents and communications related to my account (over
                a relatively short time span) eight months after the start of
                the action and nearly a year after I emailed Stanton Dodge
                regarding these issues (at which time DraftKings should have
                provided me such documents without litigation) is risible.

                Second, again, you refer repeatedly to "conditions" I am
                demanding and imply they are unreasonable, without
                providing a single specific "condition" that you are referring
                to. I can't imagine what you are referring to, as all I have
                asked is that you comply with the Court's order, and
                applicable rules and laws. I am happy to meet and confer
Case 1:24-cv-03077-NCM-VMS        Document 35          Filed 10/14/24        Page 7 of 47 PageID #:
                                         397

                regarding any "conditions" that you believe are
                unreasonable.

                Third, you state you are "gathering potentially responsive
                documents" but "do not necessarily agree with the list of
                RFPs that [I] believe are captured by the Court's order." But,
                again, you do not state any particular RFP that I listed, which
                you disagree is included in the order. I think it is abundantly
                clear that DraftKings is required to produce documents
                responsive to each of the RFPs I listed. Again, if you would
                like to meet and confer and walk through each one, I am
                happy to hear your basis. However, your current blanket
                statement that you disagree with me and will not provide
                any specifics whatsoever as to what you intend to produce
                (if anything) is not acceptable, and will needlessly delay and
                hinder the discovery process .

                Fourth, you claim to be conducting a reasonable search, but
                you totally ignored my queries regarding custodians and
                search terms. To the extent you are narrowing your search
                universe by custodians and search terms, I have a right to
                know what they are so, at minimum, I have an idea of what
                is included (and more importantly, not included) in your
                search universe.

                Please bear in mind, I know the allegations in my complaint
                are true. I know that upper-echelon officer(s) or
                employee(s) intentionally divulged dangerous information
                regarding my account to Spanky at the Sloan Conference in
                2023. It is likely that DraftKings knows this as well (or if not,
                then they never even tried to investigate my grave concerns,
                despite representing to me that they would and they did).
                Thus, it will likely be clear to me if your document
                production is deficient. I think it is in both parties' interests
                to get this right, so we can avoid a motion to compel.
                Litigating against DraftKings' army of lawyers pro se is not
                easy, and if I am forced to move to compel I will seek
                reimbursement of my time and costs.  

                In light of the foregoing, I suggest we meet and confer early
                this week to walk through the issues set forth above. It is in
                neither party's interest to get to mid-September and be
                forced to litigate a motion to compel because DraftKings
                decided to stonewall me in August. I am mostly available
                this week, please let me know when you are so that we can
Case 1:24-cv-03077-NCM-VMS          Document 35       Filed 10/14/24      Page 8 of 47 PageID #:
                                           398

                hopefully have a productive call.

                Best,
                Steve

                PS I think you know what I am referring to regarding my
                declaration in opposition, but there is no reason to belabor
                the point here, you will see it when I serve my opposition
                papers.

                On Wed, Aug 21, 2024 at 9:42 PM Steven Jacobs
                <stevenbjacobs@gmail.com> wrote:

                  I do not understand what you mean by this email at all. I
                  have not raised any conditions outside of what I believe
                  would be the bare minimum for you to comply with the
                  Courts order. What “conditions” are you referring to that
                  are problematic for you?



                             On Aug 21, 2024, at 9:32 PM, Morgan, Rees
                             <rmorgan@coblentzlaw.com> wrote:

                         ﻿
                         Hi Steve:

                         We have been trying to work with you on a
                         reasonable deadline for production, but we
                         are hitting a wall. We can’t agree, and are
                         not required to agree, to all the conditions
                         you are putting on a particular deadline.
                         There is no set deadline for our production
                         of documents responsive to your RFPs and
                         pursuant to the Court’s Order on the motion
                         to stay. We already timely responded to
                         your RFPs, the parties agreed to hold off on
                         discovery when you brought in counsel to
                         represent you (we also provided you with an
                         extension on your deadline to respond to
                         our MTD on the basis that you had just
                         retained counsel), and we will comply with
                         the Order on the motion to stay and with the
                         relevant RFPs that you propounded. But we
                         can’t agree on a particular deadline when
                         you insist on coupling it with all of the
Case 1:24-cv-03077-NCM-VMS       Document 35                 Filed 10/14/24           Page 9 of 47 PageID #:
                                        399

                      conditions that you have raised.

                      We are currently gathering potentially
                      responsive documents to your RFPs. We do
                      not necessarily agree with the list of RFPs
                      you believe are captured by the Court’s
                      order, but we are still working to gather
                      responsive materials and performing a
                      reasonable search for such materials at
                      DraftKings. This is taking some time, as will
                      our review for responsiveness and privilege.
                      We will produce responsive, non-privileged
                      documents on a rolling basis as soon as we
                      can. We hope to begin our production at
                      least by the dates discussed below.

                      With respect to the declaration in your
                      opposition, I am not sure I understand. I
                      don’t know what you mean by “on my own
                      authority.” And you know, based on our
                      many conversations, the basis for our
                      position (which again isn’t relevant to our
                      arguments in the motion to dismiss) – we
                      have uncovered nothing to support your
                      allegations regarding DraftKings’s
                      involvement in the actions described in your
                      Complaint. Thanks,

                      Rees

                      Rees Morgan
                      Coblentz Patch Duffy & Bass LLP
                      415-772-5754 | Office 415-391-4800

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                      and may contain confidential or legally privileged
                      information. If you receive this transmittal in error, please
                      email a reply to the sender and delete the transmittal and
                      any attachments.



                      From: Steven Jacobs
                      <stevenbjacobs@gmail.com>
                      Sent: Tuesday, August 20, 2024 11:06 AM
                      To: Morgan, Rees
                      <rmorgan@coblentzlaw.com>
                      Cc: Bonnevie, Cristina
Case 1:24-cv-03077-NCM-VMS     Document 35        Filed 10/14/24        Page 10 of 47 PageID #:
                                      400

                       <cbonnevie@coblentzlaw.com>; James
                       Sandnes - Skarzynski Marick & Black LLP
                       <jsandnes@skarzynski.com>; EfilingRRP
                       <EfilingRRP@coblentzlaw.com>; EfilingRFM
                       <efilingrfm@cpdb.com>; EfilingERM <ef-
                       erm@cpdb.com>; EfilingFSK <ef-
                       FSK@coblentzlaw.com>
                       Subject: Re: [EXTERNAL] Re: Doe v.
                       DraftKings Inc. (Case No. 1:24-cv-03077-
                       NCM-VMS)

                       Hi Rees,

                       Thank you for your response.

                       With respect to your request for an
                       additional week, I am willing to agree to
                       extend your time to respond through
                       September 11, provided, of course, that we
                       are on the same page about what you are
                       producing. In my email I laid out the
                       requests I bel;ieve are encapsulated by the
                       Court's order. I take your lack of response in
                       that regard as an agreement, but please let
                       me know if I am misunderstanding. In
                       addition, to the extent that you are
                       narrowing the document universe by search
                       terms and/or custodian, I ask that you
                       provide me with such search terms and
                       custodians so that I can review. As
                       previously mentioned, there are some folks
                       that absolutely must be included in your
                       searches.

                       As for your position with respect to the
                       statement at the very top of the first page of
                       your brief that my Complaint is "utterly
                       false," I understand your position. Be
                       advised that in my opposition I intend to
                       submit a declaration informing the Court
                       that your assertion was made on your own
                       authority and without any basis.

                       Best,
                       Steve
Case 1:24-cv-03077-NCM-VMS      Document 35                Filed 10/14/24                Page 11 of 47 PageID #:
                                       401




                       On Tue, Aug 20, 2024 at 1:57 PM Morgan,
                       Rees <rmorgan@coblentzlaw.com> wrote:
                         Hi Steve:

                         First, we will respond to your RFPs
                         pursuant to the Order. Thank you for
                         offering a due date of September 4, 2024.
                         Would you provide us the courtesy of an
                         additional week, given the Labor Day
                         weekend, which would make the due date
                         for our responses Wednesday, September
                         11, 2024?

                         Second, on the motion to dismiss, the
                         phrases you cite are not the thrust of our
                         motion. In our argument, we accept the
                         allegations in the Complaint as true for
                         purposes of the motion, as we must at this
                         stage. We then argue that, even if true,
                         the allegations do not support the causes
                         of action in the Complaint for the reasons
                         discussed in the motion. Thanks,

                         Rees

                         Rees Morgan
                         Coblentz Patch Duffy & Bass LLP
                         415-772-5754 | Office 415-391-4800

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                         and may contain confidential or legally privileged
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                         any attachments.



                         From: stevenbjacobs@gmail.com
                         <stevenbjacobs@gmail.com>
                         Sent: Sunday, August 18, 2024 5:25 PM
                         To: Morgan, Rees
                         <rmorgan@coblentzlaw.com>; Bonnevie,
                         Cristina <cbonnevie@coblentzlaw.com>
                         Cc: 'James Sandnes - Skarzynski Marick &
                         Black LLP' <jsandnes@skarzynski.com>;
                         EfilingRRP <EfilingRRP@coblentzlaw.com>;
Case 1:24-cv-03077-NCM-VMS    Document 35         Filed 10/14/24        Page 12 of 47 PageID #:
                                     402

                         EfilingRFM <efilingrfm@cpdb.com>;
                         EfilingERM <ef-erm@cpdb.com>;
                         EfilingFSK <ef-FSK@coblentzlaw.com>
                         Subject: RE: [EXTERNAL] Re: Doe v.
                         DraftKings Inc. (Case No. 1:24-cv-03077-
                         NCM-VMS)

                         Dear Rees,

                         I am following up on the below, as
                         tomorrow it will be a week since the
                         Court’s order. I can’t imagine there is
                         anything controversial in my email in light
                         of the Court’s order, but if there is we
                         should confer in that regard ASAP.
                         Relatedly, given the narrow scope of
                         discovery, I suspect that you can run
                         searches and review documents across all
                         of DraftKings’ documents and
                         communications, without needing to
                         narrow by custodians. However, to the
                         extent that is incorrect, and you need to
                         choose custodians, be advised that I
                         expect Jason Robins, Johnny Avello, and
                         any member of Avello’s team that
                         attended Spanky’s conference “BetBash”
                         along with Avello, will be included as a
                         custodian (in addition to all of the obvious
                         folks). My investigation has revealed that
                         Spanky has close personal relationships
                         with Robins and Avello (and likely others)
                         at DraftKings, and that they all attended
                         the Sloan Conference in 2023 around
                         which the tortious conduct took place.
                         Again, if there is anything in this email or
                         my email below that you expect will be a
                         problem, I ask that you let me know asap
                         so that we can either work it out, or so I
                         can prepare the papers to compel
                         discovery (as I believe the Court order is
                         perfectly clear). I am available to review
                         such search terms and custodians (to the
                         extent custodians are needed).

                         Relatedly, as you can imagine, I am hard at
Case 1:24-cv-03077-NCM-VMS    Document 35         Filed 10/14/24         Page 13 of 47 PageID #:
                                     403

                         work opposing your motion to dismiss. In
                         that regard, I am disturbed that the
                         primary thrust of your motion appears to
                         be that I “fabricated” the allegations in the
                         complaint. (See e.g. DraftKings MOL at 1
                         (the Complaint “tells a nonsensical
                         fabricated story . . . This story is utterly
                         false”); 18 (“baseless attempt to draft
                         DraftKings into his purported personal
                         troubles”).) Given your serious charge
                         that my Complaint is “utterly false,” I
                         would like to know what basis you have
                         for this statement. The brief is dated June
                         28, 2024. We conferred about discovery
                         around that time, at which time you told
                         me that you had not collected and
                         reviewed documents yet. Your exact
                         words were that your client has
                         represented to you what the documents
                         say, and you “believe them.” Even these
                         client representations solely related to the
                         hack into my account, and not DraftKings’
                         conduct surrounding the conference
                         (which you never told me was the Sloan
                         Conference). I believe your position with
                         respect to the conference was that it
                         would be impossible for you to determine
                         through the documents whether those
                         allegations were accurate.

                         Given that I must oppose your motion in
                         ten days, I have a right to know what basis
                         you have to claim that my allegations are
                         “utterly false.” Is it the same “tweet” that
                         you submitted to the Court from Spanky
                         Kyrollos (a convicted felon and DraftKings’
                         alleged co-conspirator)? Something else?
                         If, as I suspect, you have no basis for
                         making this assertion, and it is simply
                         bluster, I believe the Court has a right to
                         know that your representations to the
                         Court have no factual basis behind them,
                         and I will inform the Court accordingly in
                         my opposition. It is extraordinarily
                         puzzling that you can make
Case 1:24-cv-03077-NCM-VMS      Document 35                Filed 10/14/24                Page 14 of 47 PageID #:
                                       404

                         representations to the Court with such
                         certitude regarding the supposed falsity of
                         my allegations, but have refused to
                         produce a single document, when such
                         documents could easily substantiate your
                         claims.

                         As stated above, I am available to confer
                         on either or both of these items, but time
                         is of the essence, particularly with respect
                         to understanding what basis you might
                         have to claim in your brief that my
                         allegations are “utterly false.”

                         Regards,
                         Steve Jacobs


                         From: Morgan, Rees
                         <rmorgan@coblentzlaw.com>
                         Sent: Thursday, August 15, 2024 1:48 PM
                         To: Steven Jacobs
                         <stevenbjacobs@gmail.com>; Bonnevie,
                         Cristina <cbonnevie@coblentzlaw.com>
                         Cc: James Sandnes - Skarzynski Marick &
                         Black LLP (jsandnes@skarzynski.com)
                         <jsandnes@skarzynski.com>; EfilingRRP
                         <EfilingRRP@coblentzlaw.com>;
                         EfilingRFM <efilingrfm@cpdb.com>;
                         EfilingERM <ef-erm@cpdb.com>;
                         EfilingFSK <ef-FSK@coblentzlaw.com>
                         Subject: RE: [EXTERNAL] Re: Doe v.
                         DraftKings Inc. (Case No. 1:24-cv-03077-
                         NCM-VMS)

                         Steve, apologies for the delay. I will
                         discuss with the client today and get back
                         to you regarding the below. Thanks.

                         Rees Morgan
                         Coblentz Patch Duffy & Bass LLP
                         415-772-5754 | Office 415-391-4800

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                         and may contain confidential or legally privileged
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Case 1:24-cv-03077-NCM-VMS     Document 35         Filed 10/14/24       Page 15 of 47 PageID #:
                                      405

                         any attachments.



                         From: Steven Jacobs
                         <stevenbjacobs@gmail.com>
                         Sent: Monday, August 12, 2024 4:56 PM
                         To: Bonnevie, Cristina
                         <cbonnevie@coblentzlaw.com>; Morgan,
                         Rees <rmorgan@coblentzlaw.com>
                         Cc: James Sandnes - Skarzynski Marick &
                         Black LLP (jsandnes@skarzynski.com)
                         <jsandnes@skarzynski.com>; EfilingRRP
                         <EfilingRRP@coblentzlaw.com>;
                         EfilingRFM <efilingrfm@cpdb.com>;
                         EfilingERM <ef-erm@cpdb.com>;
                         EfilingFSK <ef-FSK@coblentzlaw.com>
                         Subject: [EXTERNAL] Re: Doe v. DraftKings
                         Inc. (Case No. 1:24-cv-03077-NCM-VMS)

                         Dear Rees,

                         I have moved Bhavleen to BCC, as she will
                         be subbing out as counsel. For the time
                         being, I will be handling the case pro se.

                         I trust you are in receipt of the Court's
                         order this afternoon, in which it ordered
                         that DraftKings produce documents
                         related to my DraftKings account. This
                         captures the vast majority of my
                         document requests. Thus, I expect
                         DraftKings will produce documents
                         responsive to:


                                 Request 1 - All documents and
                                 communications between Plaintiff
                                 on the one hand, and any of
                                 Plaintiff’s DraftKings’ Hosts on the
                                 other hand.
                                 Request 2 - All documents and
                                 communications between any of
                                 Plaintiff’s DraftKings Hosts on the
                                 one hand, and anyone else at
                                 DraftKings on the other hand,
                                 concerning Plaintiff’s DraftKings
Case 1:24-cv-03077-NCM-VMS   Document 35         Filed 10/14/24         Page 16 of 47 PageID #:
                                    406

                              Account and/or concerning Plaintiff.
                              Request 4 - All communications
                              with Oscar Jones concerning
                              Plaintiff’s DraftKings’ Account
                              and/or concerning Plaintiff. (I note
                              that in your R&Os you state that
                              you will not search for these
                              documents, but as they concern
                              me, I do not believe you have any
                              basis to object in light of the order).
                              Request 7 - All documents and
                              communications concerning any
                              security measures Di Chiaro
                              implemented with respect to
                              Plaintiff’s DraftKings’ Account in or
                              around March or April 2023,
                              including but not limited to those
                              that Di Chiaro caused to be
                              implemented in response to
                              Plaintiff informing Di Chiaro of the
                              information set out in Paragraph 26
                              of the Complaint. (See Complaint
                              ¶¶ 26-29.)
                              Request 8 - All documents and
                              communications concerning the
                              death threat that Plaintiff received
                              on March 30, 2023, as set forth in
                              Paragraphs 32-34 of the Complaint.
                              (You object that "death threat" is
                              undefined, but it is clearly defined
                              in the Complaint.)
                              Request 9 - All documents and
                              communications concerning
                              Plaintiff informing Di Chiaro of the
                              death threat he received on March
                              30, 2023, as set forth in Paragraphs
                              34 and 35 of the Complaint.
                              Request 10 - All documents and
                              communications concerning any
                              investigation DraftKings conducted
                              concerning Plaintiff’s DraftKings
                              Account and/or Plaintiff, including
                              but not limited to documents and
                              communications concerning the
                              investigation referred to by Di
Case 1:24-cv-03077-NCM-VMS   Document 35        Filed 10/14/24        Page 17 of 47 PageID #:
                                    407

                              Chiaro as set forth in Paragraph 36
                              of the Complaint. (I do not believe
                              you can continue to object in light
                              of the order.)
                              Request 11 - All documents and
                              communications between Di Chiaro
                              on the one hand, and anyone else
                              at DraftKings on the other hand,
                              concerning the extent of the
                              information Di Chiaro was
                              permitted to provide to Plaintiff. (I
                              do not believe you can continue to
                              object in light of the order.)
                              Request 12 - All documents and
                              communications concerning
                              Plaintiff’s Registered Email Address
                              being changed on October 2, 2023.
                              Request 13 - Documents sufficient
                              to show how Plaintiff’s Registered
                              Email Address was changed to
                              “Jacobs2207@outlook.com”.
                              Request 14 - Documents sufficient
                              to show how the request to change
                              Plaintiff’s Registered Email Address
                              on October 2, 2023 was made, and
                              how the same request was
                              approved, including but not limited
                              to:
                              a. Who approved the request;
                              b. When the request was approved;
                              c. Whether such approval was
                              consistent with DraftKings’ policies.
                              Request 16 - All documents and
                              communications concerning the
                              email address
                              “Jacobs2207@outlook.com”.
                              Request 17 - All documents and
                              communications concerning any
                              investigation DraftKings conducted
                              concerning the change of Plaintiff’s
                              Registered Email Address on
                              October 2, 2023.
                              Request 18 - All documents and
                              communications concerning what
                              information DraftKings was willing
Case 1:24-cv-03077-NCM-VMS    Document 35         Filed 10/14/24         Page 18 of 47 PageID #:
                                     408

                                (or unwilling) to provide to Plaintiff
                                after the October 2, 2023 change of
                                Plaintiff’s Registered Email Address.
                                Request 19 - All documents and
                                communications between and
                                among any of Plaintiff’s DraftKings
                                Hosts on the one hand, and any
                                other of Plaintiff’s DraftKings Hosts
                                or anyone else at DraftKings, on the
                                other hand, concerning Plaintiff’s
                                DraftKings Account, Plaintiff’s
                                Registered Email Address, and/or
                                Plaintiff.
                                Request 20 - All documents and
                                communications concerning
                                Plaintiff’s October 9, 2023 email to
                                Stanton Dodge, as set forth in
                                Paragraph 56 of the Complaint.
                                Request 21 - All documents and
                                communications concerning
                                DraftKings’ decision to revoke
                                Plaintiff’s DraftKings VIP status,
                                which was communicated by Di
                                Chiaro to Plaintiff, as set forth in
                                Paragraph 59 of the Complaint.
                                Request 23 - To the extent not
                                already included in a previous
                                request, all documents and
                                communications concerning
                                Plaintiff and all documents and
                                communications concerning
                                Plaintiff’s DraftKings Account.
                         I am available to meet and confer, but I do
                         not see how DraftKings can conceivably
                         argue in good faith that documents
                         responsive to any of these Requests would
                         not be implicated by the Court's order.

                         I understand that when Bhavleen was
                         engaged we agreed not to push discovery
                         during the thirty-day extension (ie until
                         August 28). As a courtesy, I am willing to
                         agree to give you an additional week, until
                         September 4, 2024, to produce the
                         documents responsive to the Requests
Case 1:24-cv-03077-NCM-VMS     Document 35         Filed 10/14/24        Page 19 of 47 PageID #:
                                      409

                         listed above. However, in light of the
                         Court's order, I expect there will be no
                         further delays. DraftKings has had many
                         months now to review and produce
                         documents.

                         Separately, since filing the complaint my
                         investigation has revealed further
                         information (which you likely already
                         know). First, the conference at which
                         Spanky conspired with DraftKings was the
                         2023 MIT Sloan Sports Analytics
                         Conference, which DraftKings sponsors, at
                         which Jason Robins regularly speaks, and
                         which Spanky attends every year. Second,
                         there are a number of other close
                         personal connections between Spanky and
                         Jason Robins, including that Jason Robins
                         sent a senior DraftKings bookmaker and
                         his staff to speak at BetBash, an annual
                         conference founded and run by Spanky.
                         Once I prevail on the motion to dismiss, I
                         expect to serve additional discovery
                         requests related to this information. I am
                         giving you a heads up now so that
                         DraftKings cannot later claim unfair
                         surprise (as the Sloan Conference and
                         Robins' connections with Spanky are not
                         explicitly discussed in my complaint).

                         Best regards,
                         Steve Jacobs

                         On Mon, Jul 1, 2024 at 6:34 PM Bonnevie,
                         Cristina <cbonnevie@coblentzlaw.com>
                         wrote:
                             Dear Mr. Jacobs:

                             Please find attached DraftKings Inc.’s
                             Response to Plaintiff’s First Request for
                             Production of Documents.

                             Thank you.

                             Cristina Bonnevie | Litigation Assistant
Case 1:24-cv-03077-NCM-VMS      Document 35                 Filed 10/14/24                Page 20 of 47 PageID #:
                                       410

                             Coblentz Patch Duffy & Bass LLP
                             One Montgomery Street, Suite 3000
                             San Francisco, CA 94104
                             415-677-5297 | Office 415-391-4800
                             cbonnevie@coblentzlaw.com
                             www.coblentzlaw.com

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                             addressee, and may contain confidential or legally
                             privileged information. If you receive this transmittal in
                             error, please email a reply to the sender and delete
                             the transmittal and any attachments.
Case 1:24-cv-03077-NCM-VMS   Document 35   Filed 10/14/24   Page 21 of 47 PageID #:
                                    411




                    EXHIBIT B
Case 1:24-cv-03077-NCM-VMS                                              Document 35                          Filed 10/14/24                          Page 22 of 47 PageID #:
                                                                               412

   From:                 Steven Jacobs
   To:                   Yu, Victor H.
   Cc:                   Morgan, Rees; Bhavleen Sabharwal; Bonnevie, Cristina; James Sandnes - Skarzynski Marick & Black LLP; EfilingRRP; EfilingRFM; EfilingERM; EfilingFSK
   Subject:              Re: [EXTERNAL] Re: Doe v. DraftKings Inc. (Case No. 1:24-cv-03077-NCM-VMS)
   Date:                 Friday, September 27, 2024 8:17:32 PM


  Victor,

  There are no misrepresentations in my email. Your “two productions” consist of forty documents total which are just my own
  emails and texts (and not even all of my emails and texts). That is not meaningful progress, those documents and more could
  have and should have been produced immediately in response to my requests in June. You have given me practically nothing that
  I did not already have despite the passage of many months (and over a month since the court order requiring you to do so). In
  light of your promise to provide an additional production early next week that includes DKs internal documents, I will hold off on
  the letter until Tuesday so that I can review your production and to give you an extra day to provide a date certain for the
  remainder of the documents. At this stage a date certain is necessary.

  Your demand that I provide even more of a basis for DK to conduct a good faith search of the documents of Avello and Robins is
  completely unreasonable, and contrary to the requirement that you provide reasonable cooperation in discovery. I refer you to
  local rule 26.4(b) which shows that it is DKs responsibility—not mine—to conduct a good faith search, and I have advised you in
  these emails and in my brief regarding the very likely involvement of Robins and Avello with Spanky. Their documents plainly
  need to be searched and reviewed.

  Steve


          On Sep 27, 2024, at 7:56 PM, Yu, Victor H. <vyu@coblentzlaw.com> wrote:


          ﻿
          Steve,

          Your below email contains numerous misrepresentations. Among other things, your insinuation that DraftKings has made
          “no progress” is completely unfounded. You yourself have acknowledged that we have made several productions of
          responsive materials. And as stated in my September 26 email, we intend to produce an additional set of documents to you
          early next week. This production will include a set of internal, DraftKings communications. And we are continually meeting
          and conferring with you in good faith to address your requests. This is the case even when you refuse to discuss in detail the
          basis for including certain custodians. Notably, your below email refused to respond to my request for additional color
          regarding including Mr. Avello and Mr. Robins as custodians.

          As stated below, we will provide a substantive response in a timely manner. We will take under advisement your request for
          a date certain. I am also available to telephonically meet and confer if needed as well.

          Thanks,
          Victor

          Victor H. Yu
          Coblentz Patch Duffy & Bass LLP
          415-268-0593 | Office 415-391-4800

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          email a reply to the sender and delete the transmittal and any attachments.




          From: Steven Jacobs <stevenbjacobs@gmail.com>
          Sent: Friday, September 27, 2024 3:46 PM
          To: Yu, Victor H. <vyu@coblentzlaw.com>
          Cc: Morgan, Rees <rmorgan@coblentzlaw.com>; Bhavleen Sabharwal <Bsabharwal@bsablaw.com>; Bonnevie, Cristina
          <cbonnevie@coblentzlaw.com>; James Sandnes - Skarzynski Marick & Black LLP <jsandnes@skarzynski.com>; EfilingRRP
          <EfilingRRP@coblentzlaw.com>; EfilingRFM <efilingrfm@cpdb.com>; EfilingERM <ef-erm@cpdb.com>; EfilingFSK <ef-
          FSK@coblentzlaw.com>
          Subject: Re: [EXTERNAL] Re: Doe v. DraftKings Inc. (Case No. 1:24-cv-03077-NCM-VMS)

          Counsel,

          It is disturbing that another full week has gone by and you seem to have made no further progress. The stated basis is
Case 1:24-cv-03077-NCM-VMS                                        Document 35                           Filed 10/14/24                         Page 23 of 47 PageID #:
                                                                         413

      sufficient to search the documents of the custodians below for the listed search terms. If there are no hits on the search
      terms then the burden on DK in running the searches is close to zero. If there are hits, then they plainly have responsive
      material. It’s outrageous that you have not already conducted these searches (if indeed you truly have not)

      As for your statement that this is the first time I have proposed custodians, I recommend reviewing the email chain below.
      That is completely false. I have been pushing DK on this point for months. As for whether an “expedited response” is
      needed, you have done next to nothing on discovery for many months and are therefore in defiance of a court order.

      Either we are going to make progress or we aren’t. Please provide a date certain by which you intend to make production. If
      you refuse to provide a date certain and continue to write obnoxious and false things in your email such as that I am
      inappropriately requiring an “expedited response”, or that this is the first time I have mentioned custodians, we can take our
      arguments to the court and see where the court comes out. I believe the record at this stage is not only sufficient to compel
      DKs response, but also to award me costs. As stated in my previous email, I will be submitting a letter on this point on
      Monday if you continue down this path of simply trying to intimidate me while producing nothing, rather than complying
      with your obligations

      Steve



                  On Sep 27, 2024, at 6:20 PM, Yu, Victor H. <vyu@coblentzlaw.com> wrote:

              ﻿
              Steve,

              Thank you for sending your below email. It is not reasonable to demand that DraftKings respond to your
              requests “as soon as possible” without explanation of why an expedited response is necessary. I have been
              committed to timely responding to your requests.

              We are in the process of evaluating your proposed custodians and search terms. I understand that this is the
              first time you have memorialized your proposed custodians and search terms in writing. We will respond
              substantively in a timely manner.

              In the interim, can you please provide any substantiation for your claims that Johnny Avello and “his team”
              were “close associates” of Mr. Kyrollos’, other than your claim that Mr. Avello attended the BetBash
              conference? Can you please also provide any substantiation for your claim that Jason Robins and “his team”
              had a relationship with Mr. Kyrollos, other than your claim that Mr. Robins attended the MIT Sloan
              Conference? I understand the points that you have already made in your briefing. I am attempting to
              determine if you have an additional basis for including these individuals as custodians that has not yet been
              disclosed to DraftKings. If so, please disclose that basis. Doing so would aid us in evaluating your request.

              Thanks,
              Victor

              Victor H. Yu
              Coblentz Patch Duffy & Bass LLP
              415-268-0593 | Office 415-391-4800

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              in error, please email a reply to the sender and delete the transmittal and any attachments.




              From: Steven Jacobs <stevenbjacobs@gmail.com>
              Sent: Thursday, September 26, 2024 9:01 AM
              To: Yu, Victor H. <vyu@coblentzlaw.com>
              Cc: Morgan, Rees <rmorgan@coblentzlaw.com>; Bhavleen Sabharwal <Bsabharwal@bsablaw.com>; Bonnevie,
              Cristina <cbonnevie@coblentzlaw.com>; James Sandnes - Skarzynski Marick & Black LLP
              <jsandnes@skarzynski.com>; EfilingRRP <EfilingRRP@coblentzlaw.com>; EfilingRFM <efilingrfm@cpdb.com>;
              EfilingERM <ef-erm@cpdb.com>; EfilingFSK <ef-FSK@coblentzlaw.com>
              Subject: Re: [EXTERNAL] Re: Doe v. DraftKings Inc. (Case No. 1:24-cv-03077-NCM-VMS)

              Victor,
Case 1:24-cv-03077-NCM-VMS                     Document 35                Filed 10/14/24               Page 24 of 47 PageID #:
                                                      414


         I obviously strongly disagree with your characterization of the history here, but since you have finally engaged
         regarding producing documents I don't have already, lets try to make this constructive. In response to your
         requests regarding custodians and search terms, here are my suggestions:

         Custodians

         -My hosts
         -Anyone that left a private note on my account in those emails regarding the hack (see eg Doc 00181),
         including Casey Vitanza and his teams). This is for obvious reasons, they dealt with my account during the hack.
         -Johnny Avello and his team (they went to Spanky's betbash, and Avello is a close a associate of Spanky's)
         -Jason Robins and his team members who attended the 2023 Sloan Conference (this is the conference that led
         to the Death Threat. Spanky was there, so was Robins and his team. Spanky thanked Robins publicly shortly
         thereafter)
         -Stanton Dodge (I emailed him a full summary of what happened in Fall 2023. I am entitled to see what he did
         in that regard)
         -Anyone else that DK identifies as speaking with my hosts about my account

         Search Terms (to be run across texts and other document categories in addition to emails)

         -iceboxbatcave@gmail.com
         -mayomi.o.sanchez@gmail.com
         -stoufqua
         -Steve! /s Jacobs
         -To the extent DK has a practice of referring to customer names a certain ways, such permutations of my name
         should be included.

         Protective Order

         You may sign on my behalf and file. I agree that I will abide by the protective order before it is formally entered
         by the Court, and I expect DK will as well.  

         Please let me know ASAP regarding the above. I look forward to your forthcoming production.

         Regards,
         Steve

         On Thu, Sep 26, 2024 at 1:27 AM Yu, Victor H. <vyu@coblentzlaw.com> wrote:
           Steve,

           We are disappointed in your response. As we’ve repeatedly told you, DraftKings is committed to complying
           with the Court’s order, including by agreeing with you on which of your RFPs are covered by the order. Your
           suggestion that we have not made any “meaningful progress” on issues is unfounded. As your below email
           acknowledges, DraftKings has been making rolling productions of responsive materials to you, and we will
           continue to make such productions going forward. You have not identified any issue that is ripe for motion
           practice. To the extent that you insist on burdening the Court’s time with unnecessary motions practice—
           and forcing us to correct the record—we reserve the right to seek all the fees and costs incurred in
           responding.

           During our most recent call on September 20, 2024, you requested that DraftKings search across its entire
           electronic database for your name (including your account name, email, other aliases, etc.) and produce
           responsive materials. Alternatively, you stated that if the hit counts of that search were too burdensome,
           you may be amenable to exchanging search terms and custodians.

           DraftKings is not obligated to search for your name across its entire electronic databases. Doing so would be
           grossly disproportionate to the needs of this case, and would not even be a productive starting point for
           meeting and conferring about ESI. Indeed, not only would it be burdensome to collect “all” of DraftKings’ ESI
           in order to run search terms, such an approach would likely lead to numerous false positive hits and/or hits
           for cumulative information. Rather, having conferred with our client, we would like to seek agreement on a
           proposed set of custodians and search terms. To that end, it would be helpful if you would propose in one
           email (a) a proposed set of specific custodians beyond your four hosts and (b) a set of search terms for us to
Case 1:24-cv-03077-NCM-VMS                                 Document 35                           Filed 10/14/24                          Page 25 of 47 PageID #:
                                                                  415

           review. For each custodian that you propose, please indicate the basis for why you believe they may contain
           unique, nonprivileged responsive communications.

           Further, we are amenable to the edits that you made to the Protective Order, although we have made one
           minor edit to clarify that you may review AEO information only if you exclusively proceed pro se. See the
           attached redline. I am unaware of any AEO information that will need to be produced in DraftKings’
           anticipated upcoming production, although if such an issue arises, we can address how to handle AEO
           information while Ms. Sabharwal’s withdrawal motion is pending. As such, we will accept all redlines and file
           it this week, unless you have additional edits. Please confirm that we have your authority to sign on your
           behalf. In addition, during our September 20 meet and confer, you represented that you would abide by the
           terms of PO before it is formally entered by the Court. Based on your representation, we expect to make a
           further production of responsive communications to you by the end of this week or early next.

           Thanks,
           Victor

           Victor H. Yu
           Coblentz Patch Duffy & Bass LLP
           415-268-0593 | Office 415-391-4800

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           transmittal in error, please email a reply to the sender and delete the transmittal and any attachments.




           From: Steven Jacobs <stevenbjacobs@gmail.com>
           Sent: Wednesday, September 25, 2024 9:32 AM
           To: Yu, Victor H. <vyu@coblentzlaw.com>
           Cc: Morgan, Rees <rmorgan@coblentzlaw.com>; Bhavleen Sabharwal <Bsabharwal@bsablaw.com>;
           Bonnevie, Cristina <cbonnevie@coblentzlaw.com>; James Sandnes - Skarzynski Marick & Black LLP
           <jsandnes@skarzynski.com>; EfilingRRP <EfilingRRP@coblentzlaw.com>; EfilingRFM <efilingrfm@cpdb.com>;
           EfilingERM <ef-erm@cpdb.com>; EfilingFSK <ef-FSK@coblentzlaw.com>
           Subject: Re: [EXTERNAL] Re: Doe v. DraftKings Inc. (Case No. 1:24-cv-03077-NCM-VMS)

           Counsel,

           To date DraftKings has produced essentially nothing (40 documents total, 39 of which were my own emails
           and the other of which was my texts with 1 of my 3 relevant hosts), in direct contravention of the Court's
           order. It has been over a month since the Court ordered DraftKings to produce the documents, and over half
           a year since the action commenced. At first you refused to produce anything without any legal basis
           whatsoever, and then, since the Court's order, you have requested and then proceeded to ignore multiple
           deadlines for production and/or substantive updates. I will await the promised update on your status later
           this week, but absent meaningful progress here, I will take it up with the Court on Monday. Absent such
           progress, I believe the record and timeline demonstrates that DraftKings' delays are impermissible and
           violative of the Court's order. In light of the foregoing, if forced to seek relief from the Court I intend to
           request reimbursement for my time and expenses.  

           Regards,
           Steve Jacobs

           On Tue, Sep 24, 2024 at 10:41 PM Yu, Victor H. <vyu@coblentzlaw.com> wrote:
              Steve,

              Like I said, we are still evaluating your requests and need more time to confer with our client. We can give
              you a further update on our status this week.

              Having heard no objection to taking tomorrow’s call off calendar, I’ll cancel the invite now.

              Thanks,
              Victor

              Victor H. Yu
Case 1:24-cv-03077-NCM-VMS                           Document 35                          Filed 10/14/24                          Page 26 of 47 PageID #:
                                                            416

            Coblentz Patch Duffy & Bass LLP
            415-268-0593 | Office 415-391-4800

            From: Steven Jacobs <stevenbjacobs@gmail.com>
            Sent: Tuesday, September 24, 2024 5:38:28 PM
            To: Yu, Victor H. <vyu@coblentzlaw.com>
            Cc: Morgan, Rees <rmorgan@coblentzlaw.com>; Bhavleen Sabharwal <Bsabharwal@bsablaw.com>;
            Bonnevie, Cristina <cbonnevie@coblentzlaw.com>; James Sandnes - Skarzynski Marick & Black LLP
            <jsandnes@skarzynski.com>; EfilingRRP <EfilingRRP@coblentzlaw.com>; EfilingRFM
            <efilingrfm@cpdb.com>; EfilingERM <ef-erm@cpdb.com>; EfilingFSK <ef-FSK@coblentzlaw.com>
            Subject: Re: [EXTERNAL] Re: Doe v. DraftKings Inc. (Case No. 1:24-cv-03077-NCM-VMS)

            Can you give me an idea of when that will be? I don’t think there’s anything too controversial here.

            Sent from my iPhone


                      On Sep 24, 2024, at 8:34 PM, Yu, Victor H. <vyu@coblentzlaw.com> wrote:

                  ﻿

                  Steve,



                  On last week’s meet and confer, you raised a number of issues. We stated that we
                  would need to confer with our client regarding your requests, and then we scheduled a
                  follow-up meet and confer for tomorrow morning at 8:30am PST.



                  We need additional time to confer with our client. As such, to make our next meeting
                  as productive as possible, we think it’s best to take tomorrow morning’s call off
                  calendar and reschedule when we have a substantive position to share with you. Unless
                  you feel differently and wish to discuss other issues, I will take tomorrow’s call off
                  calendar.



                  Thanks,

                  Victor



                  Victor H. Yu
                  Coblentz Patch Duffy & Bass LLP
                  415-268-0593 | Office 415-391-4800

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                  you receive this transmittal in error, please email a reply to the sender and delete the transmittal and any attachments.




                  From: Steven Jacobs <stevenbjacobs@gmail.com>
                  Sent: Thursday, September 19, 2024 1:32 PM
                  To: Morgan, Rees <rmorgan@coblentzlaw.com>
                  Cc: Bhavleen Sabharwal <Bsabharwal@bsablaw.com>; Bonnevie, Cristina
                  <cbonnevie@coblentzlaw.com>; James Sandnes - Skarzynski Marick & Black LLP
                  <jsandnes@skarzynski.com>; EfilingRRP <EfilingRRP@coblentzlaw.com>;
                  EfilingRFM <efilingrfm@cpdb.com>; EfilingERM <ef-erm@cpdb.com>; EfilingFSK
                  <ef-FSK@coblentzlaw.com>; Yu, Victor H. <vyu@coblentzlaw.com>
                  Subject: Re: [EXTERNAL] Re: Doe v. DraftKings Inc. (Case No. 1:24-cv-03077-
                  NCM-VMS)
Case 1:24-cv-03077-NCM-VMS                       Document 35                          Filed 10/14/24                         Page 27 of 47 PageID #:
                                                        417

               That time works.



               I do not understand the need to avoid producing confidential documents, you already
               produced a number and I am happy to agree to treat all documents as confidential
               pending the entry of the protective order.



               Steve




                       On Sep 19, 2024, at 4:30 PM, Morgan, Rees
                       <rmorgan@coblentzlaw.com> wrote:

                       ﻿

                       Steve:



                       Apologies but my schedule this week has been very difficult. We will be
                       making a small production of documents this week, which do not need
                       confidentiality designation. As mentioned, I have sent the PO that you
                       revised last night to our client for review, with the one change I noted. I
                       could meet and confer tomorrow at 1pm PT, if that would work for you.
                       Unfortunately that is the only slot I have open today or tomorrow. Thanks,



                       Rees



                       Rees Morgan
                       Coblentz Patch Duffy & Bass LLP
                       415-772-5754 | Office 415-391-4800

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                       information. If you receive this transmittal in error, please email a reply to the sender and delete the
                       transmittal and any attachments.




                       From: Steven Jacobs <stevenbjacobs@gmail.com>
                       Sent: Wednesday, September 18, 2024 1:38 PM
                       To: Morgan, Rees <rmorgan@coblentzlaw.com>
                       Cc: Bhavleen Sabharwal <Bsabharwal@bsablaw.com>; Bonnevie,
                       Cristina <cbonnevie@coblentzlaw.com>; James Sandnes - Skarzynski
                       Marick & Black LLP <jsandnes@skarzynski.com>; EfilingRRP
                       <EfilingRRP@coblentzlaw.com>; EfilingRFM <efilingrfm@cpdb.com>;
                       EfilingERM <ef-erm@cpdb.com>; EfilingFSK <ef-
                       FSK@coblentzlaw.com>
                       Subject: Re: [EXTERNAL] Re: Doe v. DraftKings Inc. (Case No. 1:24-
                       cv-03077-NCM-VMS)



                       Rees,



                       Reupping this email, as I see you were able to respond to a different
                       thread.
Case 1:24-cv-03077-NCM-VMS          Document 35               Filed 10/14/24             Page 28 of 47 PageID #:
                                           418

                   Regards,

                   Steve



                   On Wed, Sep 18, 2024 at 12:42 PM <stevenbjacobs@gmail.com> wrote:

                     Dear Rees,



                     I am bending over backwards to avoid burdening the Court with a
                     discovery dispute, but you are making it extremely difficult by refusing
                     to provide the courtesy of a response. Given that you promised a
                     production and a meet and confer this week, I will wait to seek relief
                     until after such production and conference. Please advise ASAP re (i)
                     when I can expect the production; and (ii) when you can confer.



                     Best,

                     Steve




                     From: stevenbjacobs@gmail.com <stevenbjacobs@gmail.com>
                     Sent: Saturday, September 14, 2024 12:35 PM
                     To: 'Morgan, Rees' <rmorgan@coblentzlaw.com>
                     Cc: 'Bhavleen Sabharwal' <Bsabharwal@bsablaw.com>; 'Bonnevie,
                     Cristina' <cbonnevie@coblentzlaw.com>; 'James Sandnes - Skarzynski
                     Marick & Black LLP' <jsandnes@skarzynski.com>; 'EfilingRRP'
                     <EfilingRRP@coblentzlaw.com>; 'EfilingRFM'
                     <efilingrfm@cpdb.com>; 'EfilingERM' <ef-erm@cpdb.com>;
                     'EfilingFSK' <ef-FSK@coblentzlaw.com>
                     Subject: RE: [EXTERNAL] Re: Doe v. DraftKings Inc. (Case No. 1:24-
                     cv-03077-NCM-VMS)



                     Dear Rees,



                     I have reviewed your 39-document production, and I simply do not
                     understand how it took you so long to produce such a meager number of
                     documents (consisting almost entirely of my own emails, and just a few
                     email threads in total). It does not feel as though DraftKings is acting in
                     good faith when it takes so many months to produce just a small handful
                     of documents, all of which are simply my own emails.



                     Please respond to my queries from previous emails below (regarding
                     custodians, search terms etc.), and also confirm that your production
                     next week will be far greater in scope. I note that the “private notes” on
                     these emails provide some greater insight into additional custodians,
                     which should include anyone that left a private note on the email chain
                     (and in particular Casey Vitanza, who informed DraftKings—but not me
                     —that my account was, in fact, compromised). I cannot wait another
                     full week only to then learn that you only intend to provide another few
                     dozen documents that I already have. Your next production must be
                     more significant and complete.



                     If I don’t hear from you and/or you continue to refuse to provide any
                     response to my queries by Tuesday, I have no choice but to seek relief
Case 1:24-cv-03077-NCM-VMS         Document 35              Filed 10/14/24              Page 29 of 47 PageID #:
                                          419

                    (and costs) from the Court.



                    Best,

                    Steve




                    From: Steven Jacobs <stevenbjacobs@gmail.com>
                    Sent: Friday, September 13, 2024 10:57 AM
                    To: Morgan, Rees <rmorgan@coblentzlaw.com>
                    Cc: Bhavleen Sabharwal <Bsabharwal@bsablaw.com>; Bonnevie,
                    Cristina <cbonnevie@coblentzlaw.com>; James Sandnes - Skarzynski
                    Marick & Black LLP <jsandnes@skarzynski.com>; EfilingRRP
                    <EfilingRRP@coblentzlaw.com>; EfilingRFM
                    <efilingrfm@cpdb.com>; EfilingERM <ef-erm@cpdb.com>;
                    EfilingFSK <ef-FSK@coblentzlaw.com>
                    Subject: Re: [EXTERNAL] Re: Doe v. DraftKings Inc. (Case No. 1:24-
                    cv-03077-NCM-VMS)



                    Dear Rees,



                    Thank you, I look forward to receiving productions today, as well as
                    next week. However, I also need to know what is in those productions.
                    ie what you searched , who you searched etc. I do not fully understand
                    your seeming extraordinary resistance to providing this necessary
                    information. Can you please let me know when you send the production
                    how it was put together? If you cannot or will not provide
                    custodians/search terms, please just let me know, as I will need to
                    prepare motion papers in that regard.



                    I am always happy to meet and confer, and we can do so on a call next
                    week or whenever you think it might be useful. Please let me know
                    when works.



                    I will respond re the Protective Order by separate cover over the
                    weekend, but I do not anticipate we will have any issues on that front.



                    Best,

                    Steve



                    On Thu, Sep 12, 2024 at 7:31 PM Morgan, Rees
                    <rmorgan@coblentzlaw.com> wrote:

                      Hi Steve:



                      We plan to make an initial production tomorrow. One issue that you
                      raised a while ago is a protective order. I am attaching a draft PO for
                      your consideration. While this is still subject to our client’s approval,
                      we wanted to provide it to you now so we can get your initial thoughts
                      as we continue to discuss it with our client. The production we will be
                      making tomorrow will not be subject to any confidentiality
                      designation, so having an approved PO by tomorrow is not necessary.
Case 1:24-cv-03077-NCM-VMS              Document 35                           Filed 10/14/24                         Page 30 of 47 PageID #:
                                               420

                     We anticipate that our next productions may require confidentiality
                     designations. Please let us know any comments on the PO.



                     I think it would make sense to set up a call next week to discuss the
                     issues you’ve raised in the various emails below. Are you available
                     late next week? I think it would be more productive to talk after
                     we’ve made more progress on our review of documents and hopefully
                     additional productions, if possible. All the best,



                     Rees



                     Rees Morgan
                     Coblentz Patch Duffy & Bass LLP
                     415-772-5754 | Office 415-391-4800

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                     privileged information. If you receive this transmittal in error, please email a reply to the sender and
                     delete the transmittal and any attachments.




                     From: Steven Jacobs <stevenbjacobs@gmail.com>
                     Sent: Thursday, September 12, 2024 8:42 AM
                     To: Morgan, Rees <rmorgan@coblentzlaw.com>; Bhavleen
                     Sabharwal <Bsabharwal@bsablaw.com>
                     Cc: Bonnevie, Cristina <cbonnevie@coblentzlaw.com>; James
                     Sandnes - Skarzynski Marick & Black LLP
                     <jsandnes@skarzynski.com>; EfilingRRP
                     <EfilingRRP@coblentzlaw.com>; EfilingRFM
                     <efilingrfm@cpdb.com>; EfilingERM <ef-erm@cpdb.com>;
                     EfilingFSK <ef-FSK@coblentzlaw.com>
                     Subject: Re: [EXTERNAL] Re: Doe v. DraftKings Inc. (Case No.
                     1:24-cv-03077-NCM-VMS)



                     Adding Bhavleen back in the chain since she is still counsel of record.



                     Steve



                     On Thu, Sep 12, 2024 at 11:34 AM Steven Jacobs
                     <stevenbjacobs@gmail.com> wrote:

                        Rees,



                        I am following up again, as it has now been nine days with no
                        response from you despite multiple follow-ups. Be advised that if I
                        do not hear from you in short order and we have not made
                        significant progress here, I am going to seek relief from the Court. I
                        do not think that it should be remotely necessary to do so given that
                        there is already a court order requiring you to produce the
                        documents I am seeking, so if you force me to seek such relief, I
                        will also seek an award of costs. In that regard I note, again, that
                        this action has been pending for many months, I served document
                        requests many months ago, discovery has never been stayed, and it
                        is completely unreasonable that you still have not produced a single
                        document to date.
Case 1:24-cv-03077-NCM-VMS       Document 35             Filed 10/14/24              Page 31 of 47 PageID #:
                                        421


                      Regards,

                      Steve Jacobs



                      On Wed, Sep 11, 2024 at 11:44 AM <stevenbjacobs@gmail.com>
                      wrote:

                        Dear Rees,



                        I’m following up again on the below. I note that today is the day
                        you originally requested as a deadline to produce documents, but
                        I still have not received anything at all.



                        At minimum, I would appreciate the courtesy of a response to the
                        below and, in particular, an update as to when I will receive
                        DraftKings’ documents (which should be this week). If I am
                        going to need to take this up with the Court (which is looking
                        more likely given the lack of communication), it will waste
                        everyone’s time if I am unable to nail down the particular issues
                        on which the parties disagree due to a lack of communication
                        from DraftKings.



                        Best,

                        Steve




                        From: Steven Jacobs <stevenbjacobs@gmail.com>
                        Sent: Saturday, September 7, 2024 10:15 AM
                        To: Morgan, Rees <rmorgan@coblentzlaw.com>
                        Cc: Bonnevie, Cristina <cbonnevie@coblentzlaw.com>; James
                        Sandnes - Skarzynski Marick & Black LLP
                        <jsandnes@skarzynski.com>; EfilingRRP
                        <EfilingRRP@coblentzlaw.com>; EfilingRFM
                        <efilingrfm@cpdb.com>; EfilingERM <ef-erm@cpdb.com>;
                        EfilingFSK <ef-FSK@coblentzlaw.com>
                        Subject: Re: [EXTERNAL] Re: Doe v. DraftKings Inc. (Case
                        No. 1:24-cv-03077-NCM-VMS)



                        Following up on the emails below. Given the lack of response
                        since Tuesday, I assume we are on the same page regarding your
                        forthcoming production? I ask again if you can provide me with
                        the custodians searched and the search terms.



                        On Tue, Sep 3, 2024 at 7:56 PM Steven Jacobs
                        <stevenbjacobs@gmail.com> wrote:

                          Apologies for the double email, but one issue i forgot to raise is
                          a protective order. I assume DraftKings will want one before it
                          produces documents, and I want one as well, in particular so
                          documents containing my confidential personal information
                          can be marked as such. I am fine with using whatever model is
                          preferred by the EDNY and Judge Merle, but happy to
                          discuss further. I think we should get this in place asap so it
Case 1:24-cv-03077-NCM-VMS       Document 35              Filed 10/14/24              Page 32 of 47 PageID #:
                                        422

                         will not delay the production.



                         Best,

                         Steve



                         On Tue, Sep 3, 2024 at 7:54 PM Steven Jacobs
                         <stevenbjacobs@gmail.com> wrote:

                             Rees,



                             Unsurprisingly, I disagree that my characterization was
                             inaccurate (and much of it was taken from verbatim notes).
                             Regardless, I am fine with conferring only in writing going
                             forward if that is your preference.



                             Some comments and questions below, so that hopefully we
                             can come to a resolution on any outstanding issues here.



                             On (2) the statement that you are still "figuring out the plan"
                             is a direct quote. Regardless, I take it you agree that you
                             stated you will begin producing documents the week of Sep.
                             9?



                             On (3) please confirm you will share what custodians are
                             searched (as well as search terms) with me. If not, we will
                             need to engage in needless motion practice. As previously
                             stated, custodians should include, at absolute minimum,
                             Robins and his staff, Avello and his staff, my hosts, and
                             anyone else that dealt with my account.



                             On (4) I don't know how you can disagree that my comment
                             was greeted with silence. I agree we had a number of calls
                             over the summer, but you were unwilling to provide a single
                             document (and still have not to date), and stated several
                             times including on this call that you have not yet completed
                             the exercise of identifying custodians and searching for
                             documents to review. Moreover, it is obviously different to
                             say "DraftKings has not yet found anything to support the
                             allegations in the Complaint" than the allegations in the
                             Complaint are "utterly false." You have no idea if the
                             allegations are "utterly false" (and I'm skeptical that even the
                             former is true, but obviously don't know for sure since you
                             have not yet made any production). Regardless, this is
                             already in my opposition to your motion and, I assume, will
                             be addressed in your reply, so there is no need to fight about
                             it here.



                             On (5) I am not surprised you disagree.



                             On (6) there is no reason to argue about DraftKings' potential
                             counterclaims until you make them. I will respond
                             appropriately to any counterclaims DraftKings sees fit to
Case 1:24-cv-03077-NCM-VMS      Document 35                   Filed 10/14/24               Page 33 of 47 PageID #:
                                       423

                             assert if/when DraftKings asserts them. I am extremely
                             confident that I have acted properly at all times.



                             Best,

                             Steve



                             On Tue, Sep 3, 2024 at 5:01 PM Morgan, Rees
                             <rmorgan@coblentzlaw.com> wrote:

                               Steve:



                               You did not characterize our meet and confer correctly.
                               We may need to meet and confer only in writing if you
                               continue to do so.



                               As I said, we are working diligently with the client to
                               comply with the Court’s order on the motion to stay, and
                               in doing so, we are performing a reasonable and good faith
                               search for potentially responsive materials. I’ll quickly
                               respond to each of your points below.



                                     1. Yes, we plan to search for and produce non-privileged
                                        documents responsive to the RFPs identified in your
                                        August 12 email.
                                     2. We very much disagree with your suggestion that there
                                        have been any stall tactics on DraftKings’ part. We also
                                        disagree that we had not already begun the work of
                                        identifying potentially relevant materials when the
                                        Court’s order on the motion to stay issued. With
                                        respect to starting with your hosts, that’s an obviously
                                        reasonable starting point since you communicated with
                                        them and your complaint focuses much of its attention
                                        on their alleged statements to you and supposed
                                        actions taken or not taken.
                                     3. With respect to custodians, we continue to work to
                                        identify DraftKings employees who might have
                                        responsive materials and perform a reasonable search
                                        of files at DraftKings for potentially responsive material.
                                     4. We disagree with everything you say on this issue.
                                        Since the date DraftKings received your complaint, we
                                        have been reviewing potentially relevant materials and
                                        discussing the issues with our client. We had many calls
                                        with you over the summer regarding the email change
                                        and what we were seeing at DraftKings related to that
                                        issue. We have found nothing to support your
                                        allegation that DraftKings had some involvement in the
                                        alleged assault or the email change.
                                     5. We disagree that DraftKings can be held liable for any
                                        “impact on your career.”
                                     6. As I said on the call, DraftKings is exploring potential
                                        counterclaims it would need to file in this matter,
                                        including claims related to proxy betting.   You said you
                                        did not proxy bet. When I said “OK,” I meant that I
                                        understood that was your position. But as I mentioned
                                        on the call, there is evidence to the contrary, and you
Case 1:24-cv-03077-NCM-VMS    Document 35                           Filed 10/14/24                           Page 34 of 47 PageID #:
                                     424

                                      have provided no evidence otherwise.



                             We are working to produce non-privileged materials
                             responsive to your RFPs as soon as practicable. Thanks,



                             Rees



                             Rees Morgan
                             Coblentz Patch Duffy & Bass LLP
                             415-772-5754 | Office 415-391-4800

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                             confidential or legally privileged information. If you receive this transmittal in error,
                             please email a reply to the sender and delete the transmittal and any attachments.




                             From: Steven Jacobs <stevenbjacobs@gmail.com>
                             Sent: Saturday, August 31, 2024 8:53 AM
                             To: Morgan, Rees <rmorgan@coblentzlaw.com>
                             Cc: Bonnevie, Cristina <cbonnevie@coblentzlaw.com>;
                             James Sandnes - Skarzynski Marick & Black LLP
                             <jsandnes@skarzynski.com>; EfilingRRP
                             <EfilingRRP@coblentzlaw.com>; EfilingRFM
                             <efilingrfm@cpdb.com>; EfilingERM <ef-
                             erm@cpdb.com>; EfilingFSK <ef-
                             FSK@coblentzlaw.com>
                             Subject: Re: [EXTERNAL] Re: Doe v. DraftKings Inc.
                             (Case No. 1:24-cv-03077-NCM-VMS)



                             Rees,



                             I write with a quick summary of yesterday's meet and
                             confer regarding discovery.



                             First, you confirmed that you will be producing
                             documents responsive to all of the RFPs listed in my email
                             of August 12.



                             Second, you stated that you're "still figuring out the plan"
                             to collect and review documents, but you are going to
                             "start with my hosts [Joe, Max, Taylor]" and then move on
                             from there. I responded that it was surprising that
                             DraftKings has made no progress in collecting and
                             reviewing documents, and that it appeared to me to be a
                             stall tactic to "run out the clock" in hopes your motion to
                             dismiss will be successful, notwithstanding the Court's
                             order to engage in discovery now. You responded that
                             you expect to start producing documents the week of
                             September 9.  



                             Third, you said you did not yet have any plan related to
                             custodians and search terms. Emmy suggested search
                             terms for this round could be my name, my username, my
Case 1:24-cv-03077-NCM-VMS    Document 35                          Filed 10/14/24                         Page 35 of 47 PageID #:
                                     425

                             two registered email addresses, and the imposter email
                             address, and I generally agree (provided you are certain
                             you will get all permutations of my names/initials etc., in
                             whatever way DK would have referenced me in emails
                             and documents). As for custodians, I reiterated that Jason
                             Robins and his staff, as well as Johnny Avello and his staff
                             must be searched (along with any other folks you identify
                             that had any connection with my account). You said you
                             would keep me in the loop regarding custodians.



                             Fourth, I asked again how you possibly had any basis to
                             represent to the Court that my complaint was "utterly
                             false" when you still have not even formulated a plan to
                             collect and review documents. This question was greeted
                             with silence.



                             Fifth, I notified you that I intend to seek damages related
                             to the impact DraftKings' improper conduct has had on
                             my career.



                             Sixth, you notified me that DraftKings (supposedly)
                             intends to bring counterclaims against me related to proxy
                             betting. I responded that this did not happen, and you said
                             "ok."



                             With regard to this last item, it is unclear what theoretical
                             claim you may bring, and I expect we will confer more in
                             this regard, but be advised that if you bring any such
                             frivolous claims (which DK surely knows are frivolous, to
                             the extent any cause of action even exists with respect to
                             the conduct you spoke of), I reserve all rights.



                             Regards,

                             Steve



                             On Fri, Aug 30, 2024 at 10:40 AM Morgan, Rees
                             <rmorgan@coblentzlaw.com> wrote:

                               @Bonnevie, Cristina, could you please send a calendar
                               invite and dial in for 1pm PT today to Steve, Emmy and
                               me? Thanks.



                               Rees Morgan
                               Coblentz Patch Duffy & Bass LLP
                               415-772-5754 | Office 415-391-4800

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                               confidential or legally privileged information. If you receive this transmittal in
                               error, please email a reply to the sender and delete the transmittal and any
                               attachments.




                               From: Steven Jacobs <stevenbjacobs@gmail.com>
                               Sent: Friday, August 30, 2024 7:28 AM
Case 1:24-cv-03077-NCM-VMS   Document 35                    Filed 10/14/24                             Page 36 of 47 PageID #:
                                    426

                             To: Morgan, Rees <rmorgan@coblentzlaw.com>
                             Cc: Bonnevie, Cristina
                             <cbonnevie@coblentzlaw.com>; James Sandnes -
                             Skarzynski Marick & Black LLP
                             <jsandnes@skarzynski.com>; EfilingRRP
                             <EfilingRRP@coblentzlaw.com>; EfilingRFM
                             <efilingrfm@cpdb.com>; EfilingERM <ef-
                             erm@cpdb.com>; EfilingFSK <ef-
                             FSK@coblentzlaw.com>
                             Subject: Re: [EXTERNAL] Re: Doe v. DraftKings Inc.
                             (Case No. 1:24-cv-03077-NCM-VMS)



                             Sounds good



                             Sent from my iPhone



                                  On Aug 30, 2024, at 10:24 AM, Morgan,
                                  Rees <rmorgan@coblentzlaw.com> wrote:

                                  ﻿

                                  Let’s do 1pm PT today, if that still works.
                                  Once you confirm we can send a calendar
                                  invite and dial in.



                                  Rees Morgan
                                  Coblentz Patch Duffy & Bass LLP
                                  415-772-5754 | Office 415-391-4800

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                                  may contain confidential or legally privileged information. If
                                  you receive this transmittal in error, please email a reply to the
                                  sender and delete the transmittal and any attachments.




                                  From: Steven Jacobs
                                  <stevenbjacobs@gmail.com>
                                  Sent: Thursday, August 29, 2024 5:31 PM
                                  To: Morgan, Rees
                                  <rmorgan@coblentzlaw.com>
                                  Cc: Bonnevie, Cristina
                                  <cbonnevie@coblentzlaw.com>; James
                                  Sandnes - Skarzynski Marick & Black LLP
                                  <jsandnes@skarzynski.com>; EfilingRRP
                                  <EfilingRRP@coblentzlaw.com>;
                                  EfilingRFM <efilingrfm@cpdb.com>;
                                  EfilingERM <ef-erm@cpdb.com>;
                                  EfilingFSK <ef-FSK@coblentzlaw.com>
                                  Subject: Re: [EXTERNAL] Re: Doe v.
                                  DraftKings Inc. (Case No. 1:24-cv-03077-
                                  NCM-VMS)



                                  Following up. I am pretty busy tomorrow
                                  but could do 1 or 130 PT



                                  Sent from my iPhone
Case 1:24-cv-03077-NCM-VMS   Document 35       Filed 10/14/24          Page 37 of 47 PageID #:
                                    427


                                    On Aug 29, 2024, at
                                    11:18 AM, Steven Jacobs
                                    <stevenbjacobs@gmail.com>
                                    wrote:

                                    ﻿I could do 7 or 8 ET tonight (4
                                     or 5 PT)

                                    Sent from my iPhone



                                          On Aug 29, 2024,
                                          at 11:05 AM,
                                          Morgan, Rees
                                          <rmorgan@coblentzlaw.com>
                                          wrote:

                                          ﻿ I probably won’t
                                           be available today
                                           until after 3pm PT
                                           today, which I
                                           know is late your
                                           time. I could talk
                                           early tomorrow
                                           morning.



                                          Sent from my
                                          iPhone



                                                 On
                                                 Aug
                                                 28,
                                                 2024,
                                                 at
                                                 6:42 PM,
                                                 Steven
                                                 Jacobs
                                                 <stevenbjacobs@gmail.com>
                                                 wrote:

                                                 ﻿ Rees,
                                                  following
                                                  up on
                                                  this,
                                                  let me
                                                  know
                                                  when
                                                  is
                                                  good.



                                                 Relatedly,
                                                 I trust
                                                 you
                                                 are in
                                                 reciept
                                                 of my
                                                 opposition
                                                 papers
                                                 to
                                                 your
                                                 MTD,
Case 1:24-cv-03077-NCM-VMS   Document 35   Filed 10/14/24   Page 38 of 47 PageID #:
                                    428




                    EXHIBIT C
Case 1:24-cv-03077-NCM-VMS                           Document 35                Filed 10/14/24               Page 39 of 47 PageID #:
                                                            429

   From:                  Steven Jacobs
   To:                    Morgan, Rees
   Cc:                    James T. Sandnes; Bhavleen Sabharwal; Yu, Victor H.; Mandel, Emlyn; Yin, Clifford; Patch, Richard
   Subject:               Re: [EXTERNAL] Re: 017373.0018 Doe v. DraftKings Inc - Case No. 1:24-cv-03077-NCM-VMS | Production
                          DRAFTKINGSDOE_PROD003
   Date:                  Thursday, October 10, 2024 12:02:30 PM


   Thank you for responding. Can you please respond on the discovery issues as well, as I intend
   to raise that with the Court in the same letter.

   Regards,
   Steve

   On Thu, Oct 10, 2024 at 11:54 AM Morgan, Rees <rmorgan@coblentzlaw.com> wrote:

     Steve:



     Thank you for sending the redline of your proposed amended complaint. After reviewing
     your proposed amendments, DraftKings declines to agree to the amendment because we
     believe it would be futile. Your proposed amendments do not cure the existing defects in
     your complaint (as fully briefed in the pending motion to dismiss). To the extent your
     amendments appear to address the issues raised in the motion to dismiss, they relate merely
     to the matters for which you requested judicial notice, rather than the underlying pleading
     defects in the causes of action. Furthermore, there are no proper grounds for the new fraud
     claim. If you opt to bring a motion for leave to amend the complaint, we intend to oppose it
     on, among other grounds, futility. Best,



     Rees




     Rees Morgan
     Coblentz Patch Duffy & Bass LLP
     415-772-5754 | Office 415-391-4800

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     receive this transmittal in error, please email a reply to the sender and delete the transmittal and any attachments.




     From: Steven Jacobs <stevenbjacobs@gmail.com>
     Sent: Wednesday, October 9, 2024 5:14 PM
     To: Morgan, Rees <rmorgan@coblentzlaw.com>
     Cc: James T. Sandnes <jsandnes@skarzynski.com>; Bhavleen Sabharwal
     <Bsabharwal@bsablaw.com>; Yu, Victor H. <vyu@coblentzlaw.com>; Mandel, Emlyn
     <EMandel@coblentzlaw.com>; Yin, Clifford <cyin@coblentzlaw.com>; Patch, Richard
Case 1:24-cv-03077-NCM-VMS           Document 35       Filed 10/14/24      Page 40 of 47 PageID #:
                                            430

    <rpatch@coblentzlaw.com>
    Subject: Re: [EXTERNAL] Re: 017373.0018 Doe v. DraftKings Inc - Case No. 1:24-cv-
    03077-NCM-VMS | Production DRAFTKINGSDOE_PROD003



    Following up. If I don’t hear back I will go ahead and file my motion tomorrow and note
    that DK has not responded at all, so presumably does not consent.



    Sent from my iPhone




          On Oct 7, 2024, at 5:47 PM, stevenbjacobs@gmail.com wrote:

          ﻿

          Rees,



          As you requested, please see attached my proposed amended complaint (the
          “SAC”) in track so DraftKings can see the proposed changes. As you will see,
          these changes both amend and supplement my complaint (ie relief that is
          generally granted freely at this stage). All of the substantive changes essentially
          fall within two buckets:



              1. Allegations added as a result of your discovery to date, including a cause
                 of action for fraud; and
              2. Allegations to address your MTD papers (including your inexplicable
                 opposition to the Court taking judicial notice of plainly true facts).



          As you know, these are both axiomatic reasons to amend/supplement a
          complaint. Thus, I kindly suggest that DraftKings agree to the amendment
          which would permit me to file the SAC without leave of court. If DraftKings
          does not agree, please let me know ASAP, and no later than midday on
          Wednesday. I say that because I think this should be filed very soon to ensure
          that the Court does not waste it’s time reviewing what will be a largely mooted
          motion to dismiss. Thus, if you decline to agree to the amendment, or if I do
          not hear from you by midday Wednesday, I will go ahead with filing. In
          addition, if you decline to agree, I would appreciate if you can let me know your
          reasoning so that I can fairly represent the issues to the Court in a forthcoming
          motion.
Case 1:24-cv-03077-NCM-VMS             Document 35      Filed 10/14/24    Page 41 of 47 PageID #:
                                              431


         Finally, I note that this SAC includes reference to a number of documents that
         you have marked CONFIDENTIAL. Although I have significant questions as
         to whether and how the information in these documents constitutes proprietary
         information of DK, I do not object to the designations at this time. I will
         attempt in good faith to file the SAC under seal, but I do not know if it will be
         accepted by the Court.



         Happy to meet and confer tomorrow if it would be helpful, and I still await your
         response regarding (i) pdfs of your recent production; (ii) a date certain
         regarding your remaining production.



         Best regards,

         Steve




         From: Steven Jacobs <stevenbjacobs@gmail.com>
         Sent: Thursday, October 3, 2024 8:18 PM
         To: Morgan, Rees <rmorgan@coblentzlaw.com>
         Cc: James T. Sandnes <jsandnes@skarzynski.com>; Bhavleen Sabharwal
         <Bsabharwal@bsablaw.com>; Yu, Victor H. <vyu@coblentzlaw.com>;
         Mandel, Emlyn <EMandel@coblentzlaw.com>; Yin, Clifford
         <cyin@coblentzlaw.com>; Patch, Richard <rpatch@coblentzlaw.com>
         Subject: Re: [EXTERNAL] Re: 017373.0018 Doe v. DraftKings Inc - Case
         No. 1:24-cv-03077-NCM-VMS | Production DRAFTKINGSDOE_PROD003



         Can you please provide PDFs of the recent production as I requested a few days
         ago? Thanks.



         I will send you a redline of the amended complaint. Still waiting to hear from
         you regarding a date certain for production.




                     On Oct 3, 2024, at 4:06 PM, Morgan, Rees
                     <rmorgan@coblentzlaw.com> wrote:

                 ﻿
Case 1:24-cv-03077-NCM-VMS                Document 35                 Filed 10/14/24              Page 42 of 47 PageID #:
                                                 432

             Steve:



             We believe that the Court should rule on the motion to dismiss
             before any amendments to the complaint are made.



             In any case, to meaningfully meet and confer, we need to see your
             proposed amended pleading (both a clean version and a redline
             showing the changes). Please provide it when you can. You would
             presumably need to attach it to any motion for leave to amend in
             any case.



             Thanks,



             Rees



             Rees Morgan
             Coblentz Patch Duffy & Bass LLP
             415-772-5754 | Office 415-391-4800

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             privileged information. If you receive this transmittal in error, please email a reply to the sender
             and delete the transmittal and any attachments.




             From: Steven Jacobs <stevenbjacobs@gmail.com>
             Sent: Thursday, October 3, 2024 9:00 AM
             To: Lipton, Jason <jlipton@coblentzlaw.com>
             Cc: James T. Sandnes <jsandnes@skarzynski.com>; Bhavleen
             Sabharwal <Bsabharwal@bsablaw.com>; Yu, Victor H.
             <vyu@coblentzlaw.com>; Mandel, Emlyn
             <EMandel@coblentzlaw.com>; Yin, Clifford
             <cyin@coblentzlaw.com>; Morgan, Rees
             <rmorgan@coblentzlaw.com>
             Subject: [EXTERNAL] Re: 017373.0018 Doe v. DraftKings Inc -
             Case No. 1:24-cv-03077-NCM-VMS | Production
             DRAFTKINGSDOE_PROD003



             Rees,
Case 1:24-cv-03077-NCM-VMS         Document 35       Filed 10/14/24      Page 43 of 47 PageID #:
                                          433



             Following up on my request to confer, I am going to file a motion
             to amend asap, likely early next week, and we are required to
             confer before I file (per the protective order and per the federal
             rules). Please let me know when you can.



             Best,

             Steve




                     On Oct 2, 2024, at 9:02 AM, Steven Jacobs
                     <stevenbjacobs@gmail.com> wrote:

                     ﻿Dear Rees,



                     These documents raise a number of troubling issues
                     (even putting aside that there are still many more to be
                     produced). There is a good bit of new information that
                     dictates that I amend my complaint. To that end, I
                     suggest we meet and confer as soon as you are able
                     regarding three related issues:



                     1) whether certain documents that I will need to use for
                     the amendment warrant the “confidential” tag



                     2) whether DK consents to the amendment



                     3) the best way forward given that it is highly likely
                     further productions will require additional amendment
                     (which is one of many reasons I have asked you to
                     provide a date certain for production.
Case 1:24-cv-03077-NCM-VMS        Document 35       Filed 10/14/24      Page 44 of 47 PageID #:
                                         434

                  Please let me know when you can talk, ideally today or
                  tomorrow since if I am going to need to move the court
                  regarding amendment (Ie if DK does not consent), then
                  time is of the essence. I’m actually on Pacific Time
                  this week, so our schedules are likely more aligned
                  than usual.



                  Regards,

                  Steve




                          On Oct 1, 2024, at 8:07 PM, Steven
                          Jacobs <stevenbjacobs@gmail.com>
                          wrote:

                          ﻿

                          Rees,



                          Following up on my email below, I was
                          able to get most but not all of these open.
                          Please send me the natives as you have
                          done in the past.



                          A few notes:



                          1) Obviously there is still a great deal
                          missing, including whatever documents
                          substantiate your claims from last June
                          that my account email was changed using
                          a SSN (which you apparently had at the
                          time). Given that you had this at the time,
                          I don't understand why you have been
                          unable to produce it to date.

                          2) Where are you on custodians and
                          searches. We should be well advanced by
                          now, but I still have not heard back. From
                          what I have seen from this batch, Ryan
Case 1:24-cv-03077-NCM-VMS     Document 35        Filed 10/14/24      Page 45 of 47 PageID #:
                                      435

                       Foppert and Michael Rybcynski need to
                       be added as custodians.

                       3) Not totally relevant to the lawsuit
                       (although it may turn out to be), but it is
                       absolutely insane and utterly remarkable
                       how different your client's "VIP hosts"
                       treat people to their faces vs. what they
                       say behind their backs. Shameful and
                       disgusting behavior.

                       4) There are some mentions of the Spanky
                       situation which clearly led to other
                       communications which do not appear to
                       be included in this production. This goes
                       along with (2), but can you please advise?
                       An incomplete production is not worth
                       much. As previously mentioned, I need a
                       date certain by which DK can complete its
                       production.



                       Best,

                       Steve



                       On Tue, Oct 1, 2024 at 7:38 PM Steven
                       Jacobs <stevenbjacobs@gmail.com>
                       wrote:

                         Jason, I can't seem to access this, are
                         there natives? Even the one document
                         in the native folder appears inaccessible.



                         On Tue, Oct 1, 2024 at 3:16 PM Lipton,
                         Jason <jlipton@coblentzlaw.com>
                         wrote:

                             wUtHlstunl2+aBrO3Lyu



                             Jason Lipton | Senior Litigation
                             Paralegal and e-Discovery
                             Coordinator
                             Coblentz Patch Duffy & Bass LLP
                             415-293-6434 | Office 415-391-4800
Case 1:24-cv-03077-NCM-VMS      Document 35                 Filed 10/14/24             Page 46 of 47 PageID #:
                                       436


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                             addressee, and may contain confidential or legally
                             privileged information. If you receive this transmittal
                             in error, please email a reply to the sender and delete
                             the transmittal and any attachments.




                             From: Lipton, Jason
                             Sent: Tuesday, October 1, 2024 3:16
                             PM
                             To: Steven Jacobs
                             <stevenbjacobs@gmail.com>
                             Cc: James T. Sandnes
                             <jsandnes@skarzynski.com>;
                             Bhavleen Sabharwal
                             <Bsabharwal@bsablaw.com>; Yu,
                             Victor H. <vyu@coblentzlaw.com>;
                             Mandel, Emlyn
                             <EMandel@coblentzlaw.com>; Yin,
                             Clifford <cyin@coblentzlaw.com>;
                             Morgan, Rees
                             <rmorgan@coblentzlaw.com>
                             Subject: 017373.0018 Doe v.
                             DraftKings Inc - Case No. 1:24-cv-
                             03077-NCM-VMS | Production
                             DRAFTKINGSDOE_PROD003



                             Counsel,



                             Please see the attached letter. The
                             password to decrypt the production
                             will follow.



                             Regards,

                             Jason



                             Jason Lipton | Senior Litigation
                             Paralegal and e-Discovery
                             Coordinator
Case 1:24-cv-03077-NCM-VMS      Document 35                 Filed 10/14/24             Page 47 of 47 PageID #:
                                       437

                             Coblentz Patch Duffy & Bass LLP
                             One Montgomery Street, Suite 3000
                             San Francisco, CA 94104
                             415-293-6434 | Office 415-391-4800
                             jlipton@coblentzlaw.com
                             www.coblentzlaw.com

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                             the transmittal and any attachments.




         <10.7.24 DK SAC (In Track).docx>
